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                                 UNITED STATES DISTRICT COURT
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                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   JAMAL JOHNSON, individually and on             CASE NO. 5:19-cv-02456-FMO-SP
16 behalf of others similarly situated,
17                                                Hon. Fernando M. Olguin
              Plaintiff,
18                                                INTERVENING PARTY MOSS BROS.
19 v.                                             CJD, INC.’S REQUEST FOR LEAVE TO
                                                  RESPOND TO PLAINTIFFS’ NOTICES
20 MOSS BROS. AUTO GROUP, INC.,                   OF SUPPLEMENTAL AUTHORITY
21 California Corporation,                        REGARDING PENDING MOTION TO
                                                  COMPEL ARBITRATION
22      Defendant.
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                        MOSS BROS. CJD, INC.’S REQUEST FOR LEAVE TO RESPOND TO
                          PLAINTIFFS’ NOTICES OF SUPPLEMENTAL AUTHORITY
      ACTIVE 51983425
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 1            The parties completed briefing on the Motion to Compel Arbitration and Stay
 2 Proceedings (Dkt. 57) filed by Intervening Party Moss Bros. CJD, Inc. (“CJD Moreno
 3 Valley”) back on July 16, 2020, and the Court has since taken the motion under
 4 submission (Dkt. 68). Pursuant to Local Rule 7-10, Plaintiff is not permitted to “file a
 5 response to the reply” without “prior written order of the Court.”
 6            Nonetheless, Plaintiff has filed two Notices of Supplemental Authority regarding
 7 the motion. (Dkt. Nos. 71 and 76.) CJD Moreno Valley respectfully submits that the
 8 cases cited in both of Plaintiffs’ Notices have no relevance to the issues presented by the
 9 motion. But if the Court is inclined to give any consideration to Plaintiff’s filings, then
10 CJD Moreno Valley respectfully requests an opportunity to submit a written response.
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      DATED: August 12, 2020                 GREENBERG TRAURIG, LLP
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                                       By    /s/ Adil M. Khan
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15                                           Adil M. Khan
16                                           Attorneys for Intervening Party
                                             Moss Bros. CJD, Inc.
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